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                Exhibit C
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:21-CV-21079-Bloom


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  ___________________________________________/

                             DECLARATION OF YANIV FRANTZ

         Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

         1.      My name is Yaniv Frantz and I am over twenty-one years of age and have personal

  knowledge of the matters set forth herein.

         2.      I am currently unemployed.

         3.      From December 2016 until March 2018, I was employed at Swiss America

  Securities, Ltd, a/k/a SureTrader, and most recently known as Mint Broker International Ltd., a

  broker-dealer registered with the Securities Commission of the Bahamas (hereinafter

  “SureTrader”). I was initially hired by Mr. Gentile as a consultant, and within approximately three

  months, I accepted a full-time position as Senior Sales Manager. I was then promoted to Chief

  Operating Officer in mid-2017.

         4.      As a consultant, my duties were focused on optimizing the company’s efficiency

  across several departments. As Senior Sales manager my duties were focused on creating and
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  building a sales team, including expanding the required physical workplace to accommodate the

  approximately 20 new employees on the sales team. As Chief Operating Officer, my duties

  focused on running all operational aspects of the company and carrying out the CEO’s instructions

  on how the company was to be run. At Mr. Gentile’s instruction, I also reached out to primarily

  US banks to try to build relationships with Mint International Broker and Mint Technology.

         5.     When I began my employment at SureTrader, I was issued a work laptop.

         6.     When my employment with SureTrader ended in March 2018, I only spoke with

  the Chief Financial Officer Antonio Collie and the head of Human Resources Justin Ritchie

  regarding the separation process. SureTrader gave me a document that set forth the amount to be

  paid/owed to me. It included a calculation of payment for unused vacation time. It also included

  a debit of $1,340.00 for the work laptop I had previously been issued and used, even though there

  was no discussion of the disposition of my work laptop, including whether I would be returning it

  to SureTrader or purchasing it. The amount I received from SureTrader as part of my separation

  was the same that was calculated in the document.

         7.     When I separated from SureTrader, I was not provided with any instructions

  regarding the contents of my work laptop. I was not instructed to delete or otherwise remove

  SureTrader data or work from my work laptop or to cease using the laptop.

         8.     I do not recall receiving a copy of a Code of Ethics from SureTrader.
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     9. I contacted the U.S. Securities and Exchange Commission (“SEC”) and voluntarily

         provided information and documents to the SEC because I was concerned with how Gentile

         ran SureTrader and that his conduct may violate U.S. securities laws.

  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
  correct.

         Executed on this 27th day of June 2022.



                                                       ____________________________
                                                       Yaniv Frantz
